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                                           ORDERED.


        Dated: April 25, 2019




                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

IN RE:
CHRISTOPHER STEVEN KING AND
MELISSA RENEE KING
                                             CASE NO. 6:19-bk-01058-KSJ
                                             CHAPTER 7
       Debtor(s).
                                             /

                        ORDER GRANTING WELLS FARGO BANK, N.A.
                            MOTION FOR RELIEF FROM STAY [DE-8]

       THIS CASE came on for consideration upon the Motion for Relief from Automatic Stay filed
by Movant, WELLS FARGO BANK, N.A.. The Motion has been served upon the parties of interest in
accordance with Local rule 2002-4 and no party of interest has filed an objection to the Motion within
the time permitted. Therefore, the Court deems the Motion to be unopposed, it is
       ORDERED:

       1. The Motion for Relief from Stay (Doc. No. 9) is GRANTED.

       2. The automatic stay imposed by 11 U.S.C. § 362 is vacated as to the Movant’s enforcement of

its mortgage on or security interest in the following property:

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       BEING ALL OF LOT 37 OF STILLWATER CREEK SECTION NO. TWO, AS SHOWN
       ON A PLAT RECORDED IN PLAT CABINET B, SLIDE 34-J OF THE WAYNE
       COUNTY         REGISTER.        FOR     FURTHER         REFERENCE          SEE     DEED       FROM
       CAMBRIDGE FARMS, INC TO STREAMLINE DEVELOPERS, LLC ON JUNE 27,
       2014.
       a/k/a 333 STILLWATER CREEK DRIVE, GOLDSBORO, NC 27534
       3. This order is entered for the sole purpose of allowing the Movant to obtain in rem relief
against the property and Movant shall not seek in personam relief against the Debtor.
       4. It is further ordered that that Movant may offer and provide the debtor with information in
regard to a potential Forbearance Agreement, Loan Modification, Refinance Agreement, or other Loan
Workout/Loss Mitigation Agreement, and may enter into such agreement with the debtor provided the
agreement complies with the Bankruptcy Code and all other applicable law. Movant, however, may not
enforce or threaten to enforce any personal liability against the debtor if the debtor’s personal liability
is discharged in this bankruptcy.
       5. The Movant made sufficient allegations and a request in the Motion for Relief from Stay to
waive the 14 day stay requirement of Bankruptcy Rule 4001(a)(3). No objection being raised, the
automatic stay shall be lifted immediately upon execution of this order.
       6. The mortgage indebtedness that shall run with this property shall be increased to include
$531.00 for attorney's fees and costs incurred in filing the Motion for Relief from the Automatic Stay.




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Attorney Alejandro Martinez-Maldonado, Esq. is directed to serve a copy of this order on interested
parties who are non-CM/ECF and to file a proof of service within three days of entry of this order.




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